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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


   UNIMAVEN, INC.,                                    Civil Action No.

                   Plaintiff,                         17-12008 (SDW) (LDW)

   v.                                                 ORDER

   TEXAS TR, LLC, et al.,

                   Defendants.


        THIS MATTER having come before the Court by way of plaintiff’s Motion to Amend

 the Complaint (ECF No. 103); and judgment having been entered against defendant Texas TR,

 LLC and in favor of plaintiff by Order of the Honorable Susan Davis Wigenton, U.S.D.J., on

 October 5, 2020 (ECF No. 102); and it appearing that, where, as here, a final judgment is entered

 and an action is closed, the district court lacks continuing jurisdiction over the matter absent clear

 language retaining jurisdiction, Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377

 (1994); and it appearing that the Court’s Order entering judgment and terminating this action

 contains no reservation of jurisdiction (ECF No. 102), and for good cause shown,

        IT IS on this day, August 15, 2022:

        ORDERED that counsel for plaintiff, Mr. Rubenstein, shall file a submission articulating

 a basis for the Court’s exercise of jurisdiction on or before September 12, 2022.


                                                  s/ Leda Dunn Wettre
                                                 Hon. Leda Dunn Wettre
                                                 United States Magistrate Judge
